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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
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                                                      :
UNITED STATES OF AMERICA,                             :         CASE NO. 1:06CR338
                                                      :
         Plaintiff,                                   :
                                                      :
vs.                                                   :         ORDER [Resolving Doc. 533]
                                                      :
IRFAN ITAYEM,                                         :
                                                      :
         Defendant.                                   :
                                                      :
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JAMES S. GWIN, UNITED STATES DISTRICT JUDGE:

        On February 8, 2007, the Court committed Defendant Irfan Itayem (“Itayem”) to the Bureau

of Prisons for a period of one year and one day on Count 1 of the Indictment with credit for time

served. [Doc. 505.] With this motion, Defendant Itayem motions the Court to reduce his sentence,

arguing that (1) the Court erred in finding that the Defendant was personally responsible for

distributing at least 50 but less than 100 grams of cocaine; and (2) the sentence imposed will impact

the Defendant more severely than the Court may be aware, in that the Defendant will lose his job

if incarcerated. [Doc. 533.] The Government opposes the Defendants motion, arguing that the Court

lacks jurisdiction to alter the existing sentence. [Doc. 534.] The Court agrees with the Government

and therefore DENIES the Defendant’s motion.

        Pursuant to Federal Rules of Criminal Procedure, Rule 35, a Court has limited jurisdiction

to correct or reduce a criminal defendant’s sentence. FED. R.CRIM. P. 35. Specifically, Rule 35 only

allows the Court to alter a sentence where either (1) the change addresses a clear error resulting

from a technical mistake and is made within seven days after the sentencing; or (2) upon a motion

by the government to reduce a Defendant’s sentence for substantial assistance. FED. R.CRIM. P.

35(a-b).

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       Here, the Defendant’s motion provides no basis for jurisdiction given that it (1) was filed

more than two months – rather than within seven days – after sentencing, (2) alleges no mistake in

the sentencing process, let alone a clear error, and (3) is not accompanied by a government motion

requesting a reduction for substantial assistance. Accordingly, the Court denies the Defendant’s

motion for lack of jurisdiction.

       IT IS SO ORDERED.



Dated: July 30, 2007                                 s/  James S. Gwin
                                                     JAMES S. GWIN
                                                     UNITED STATES DISTRICT JUDGE




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